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              IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

BRADLEY J. SCHAUFENBUEL; et al.,                )
                                                )
                     Plaintiffs,                )
                                                )   Case No. 09-CV-1221
v.                                              )
                                                )
INVESTFORCLOSURES FINANCIAL,                    )   Judge Leinenweber
L.L.C.; et al.,                                 )
                                                )   Magistrate Judge Nolan
                                                )
                     Defendants.                )

     VOLUNTARY DISMISSAL OF DEFENDANT WESSEL WITHOUT PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs
voluntarily dismiss without prejudice Defendant Scott Wessel from the above-
captioned case.

                                        PLAINTIFFS

                                        By: __/s/ Robert C. Thurston____
                                              One of Their Attorneys


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